Case 3:19- mj-05084-AGS Document1 Filed 11/14/19 PagelD. 1 Page 1of 17
AG 106 (Rey. 04/10) Application for a Search Warrant

 

  
    

UNITED STATES DISTRICT COURIT

for the
Southern District of California

one

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In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)

sQUTHL HN DIS TRG
HTC One A9s Phone
IME: 351515080300173

S/N: FA?71BBY00074 1 ? M J 9 0 8 4

APPLICATION FOR A SEARCH WARRANT

 
 

Case No.

Nee So” ae ae” i Ni”

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

See Attachment A-2.

located in the Southern District of California , there is now concealed (identify the

person or describe the property to be seized):
See Attachment B.

 

The basis for the search under Fed. R. Crim. P. 41(c) is (check ane or more):
of evidence of a crime;
O contraband, fruits of crime, or other items illegaliy possessed;
mw property designed for use, intended for use, or used in committing a crime;
C1 a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
8B USC 1324(a)(1}(A)ti} & (v)(I}; = Conspiracy to Bring Certain Aliens Without Presentation; Conspiracy to Use False

8 USC 371; 18 USC 1001(a)2); Documents; 1False Statements; False Documents; and Aiding and Abetting as to
18 USC 1001(a)(3); 18 USC ‘ithe Faisification of Records or Documents in a Federal Investigation

ae
The application is based on these facts:
See attached affidavit of Mike Brown, HSI Special Agent

ca Continued on the attached sheet.

[ Delayed notice of days (give exact ending date if more than 30 days: } is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

LOTLe®

Applicant’s signature

 

Mike Brown, HS! Special Agent

 

Printed name and title

Sworn to before me and signed in my presence.
Date: il 3 2

City and state: San Diego, California Hon. Andrew G. Schopler, U.S. Magistrate Judge

Printed name and title

  

 

ize ’s signature

 

 

 

 

 
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Case 3:19-mj-05084-AGS Document1 Filed 11/14/19 PagelD.2 Page 2 of 17

AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A SEARCH WARRANT

I, Mike Brown, Special Agent with the United States Department of Homeland
Security (DHS), Immigration and Customs Enforcement (ICE), Homeland Security
Investigations (FISI), being duly sworn, hereby state as follows:

INTRODUCTION
1, This affidavit supports an application for a warrant to search the following

cell phones:
a. NUU_A3 phone
IMEI (Slot1): 354700084685038
IMEI (Slot 2): 354700084685046
Henry Claude VINCENT
(Target Device 1);

b. HTC One A9s phone
IMEI: 351515080300173
S/N: FA71BBY00074
Thomas JULES
(Target Device 2);

collectively referred to herein as the Target Devices, as described in Attachments A-1
through A-2 (incorporated herein by reference), and seize evidence of crimes and property
used in the commission of crimes, specifically, violations of 8 U.S.C. § 1324(a)(1 (AD)
and (v)(I) — Conspiracy to Bring Certain Aliens Without Presentation; 8 U.S.C. § 371 —
Conspiracy to Use False Documents; 18 U.S.C. § 1001(a)(2) — False Statements; 18 U.S.C.
§ 1001(a)(3) — False Documents; and 18 U.S.C. §§ 1519 and 2 — Aiding and Abetting as
to the Falsification of Records or Documents in a Federal Investigation. Based upon my
experience and training, and all the facts and opinions set forth in this Affidavit, I believe
that there is probable cause to believe that a search of the Target Devices as described in
Attachments A-1 and A-2 will produce evidence of the aforementioned crimes, as
described in Attachment B. The Target Devices are currently in the possession of the
Department of Homeland Security and presently are stored at 2255 Niels Bohr Court, San
Diego, CA 92154, .

 

 

 

 
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Case 3:19-mj-05084-AGS Document1 Filed 11/14/19 PagelD.3 Page 3 of 17

2. The requested warrants relate to the investigation of Henry Claude VINCENT
(“VINCENT”) and Thomas JULES (“TULES”), all of whom entered the United States
from Mexico illegally on or about October 1, 2019. They claimed to be have a familial
relationship to avoid further detention by immigration authorities. The Target Devices
currently are in the possession of the Department of Homeland Security at 2297 Niels Bohr
Court, San Diego, CA 92154. |

3. The information contained in this affidavit is based upon my experience and
training, consultation with other federal, state, and local law enforcement agents. The
evidence and information contained herein was developed from interviews and my review
of documents and evidence related to this case. Because this affidavit is made for the
limited purpose of obtaining a search warrant for the Target Devices, it does not contain
all of the information known by me or other federal agents regarding this investigation,
but only contains those facts believed to be necessary to establish probable cause. Dates,
times, and amounts are approximate.

EXPERIENCE AND TRAINING
4. lama Special Agent (SA) with ICE, HSI, and have been so employed since

April 2001. I currently am assigned to the Document and Benefit Fraud Task Force, where

my duties include investigating fraudulent applications for immigration benefits, the
manufacture and sale of fraudulent immigration documents, and financial exploitation of

immigrants.

5. Lama graduate of the Federal Law Enforcement Training Center, Brunswick,
Georgia, having successfully completing the required coursework. I am also a graduate of
the Federal Criminal Investigator Training Program (CITP) and the Customs Basic
Enforcement academies. |

6. Asa Special Agent, my primary duties include the investigation of criminal
immigration-related violations under Title 8 of the United States Code and identity fraud-

related investigations under Title 18 of the United States Code. [have spoken with other

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Case 3:19-mj-05084-AGS Document1 Filed 11/14/19 PagelD.4 Page 4 of 17

agents with extensive experience in human smuggling and identity fraud-related
investigations. | have arrested or participated in the arrest of persons for violations under
Titles 8 and 18 of the United States Code. I have conducted interviews ‘with arrested
persons and their associates, as well as cooperating individuals and informants. I have
conducted surveillance of individuals involved in human smuggling and illegal re-entries,
and individuals suspected of identity fraud while operating inside the United States.
Through these investigative activities, I have gained a-working knowledge and insight into
the typical activity of individuals attempting to circumvent the United States’ immigration

laws by avoiding apprehension or maintaining a presence in the United States without

detection.
7. Since August 2001, I have been involved in the investigations of fraud and
smuggling related apprehensions near the international border between the United States

and Mexico. My current assignment is part of what is known as the Southwest Border
Surge Initiative. My duties include taking sworn statements from defendants, other
individuals without legal status apprehended as part of a group near the border, and children
where possible; preparing reports for criminal and administrative cases; collecting
evidence; seizing personal property; and creating intelligence reports.

8. Generally and subject to certain exceptions, when an adult without legal status
is apprehended for an illegal entry but has her or his minor child present, this adult may be
released from immigration custody or not subj ect to criminal prosecution in order to avoid
separation from the child. Subject to certain exceptions, when an unaccompanied minor
(i.¢., a minor without legal status and who is not with a parent or guardian) is apprehended
for an illegal entry, that unaccompanied minor eventually is released from immigration
custody or not subject to criminal prosecution. During my current assignment as part of
the Southwest Border Surge Initiative, | have been tasked with investigating whether
individuals without legal status are making fraudulent claims about: (a) their status as a
parent to a purported minor child who is with them; or, (b) their status as a minor. These

claims are made in order to avoid extended detention at immigration facilities or criminal
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Case 3:19-mj-05084-AGS Document1 Filed 11/14/19 PagelD.5 Page 5 of 17

prosecution. During interviews, individuals who admit to the false claims explain how
human smugglers or other individuals without legal status told them to make these false
claims in order to gain ehtry into the United States.

9. Through the course of my training, investigations, and conversations with
other law enforcement personnel, defendants, and smuggled humans, I am aware that it is
a common practice for: (a) human smugglers to work in concert with other individuals and
to do so by utilizing cellular telephones, and portable radios to maintain communications
with co-conspirators in order to further their criminal activities; (b) the smuggled aliens to
communicate with the human smugglers or a go-between by utilizing cellular telephones
in order to further their illegal entry into the United States; (c) the smuggled aliens will
have information stored on their cellular telephones that show their true identity including
name, nicknames, date of birth, home, school or work addresses and descriptions, familial
associations; and (d) smuggled aliens, if relying on false statements or documents about
being ina parent-minor child relationship or being an unaccompanied minor in an attempt
to gain entry into the United States and/or to avoid further detention or criminal
prosecution, will have information stored on their cellular telephones that show the
gathering of information to support these false statements or documents. Conspiracies
involved in the smuggling and trafficking of undocumented aliens generate many types of
evidence including, but not limited to, cellular phone-related evidence such as voicemail
messages referring to the method and manner of the smuggling venture, arrangements of
travel and payment, names, photographs, text messaging (via SMS or other applications),
and phone numbers of co-conspirators. I also know that human smugglers often use
fraudulent information to subscribe to communication facilities, especially cellular
telephones, and frequently change communications facilities to thwart law enforcement
efforts to intercept their communications. |

10. In preparing this affidavit, I have conferred with other agents and law
enforcement personnel who are experienced in the area of human smuggling

investigations, and the opinions stated below are shared by them. Further, I have personal
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Case 3:19-mj-05084-AGS Document1 Filed 11/14/19 PagelD.6 Page 6 of 17

knowledge of the following facts, or have had them related to me by persons mentioned in
this affidavit.

a. Human smugglers and smuggled aliens use “digital devices,” including
cellular telephones and smart electronic devices with messaging applications because these
devices are mobile. In addition, these devices allow smugglers and smuggled aliens to
have instant access to telephone calls, instant messaging, text messaging, social media
applications, and voice messaging.

b. Human smugglers and smuggled aliens use their cellular telephones
and smart electronic devices to communicate amongst each other to coordinate the logistics
and payments related to the smuggling of the undocumented aliens into the United States
and from thereon. Regarding the logistics, the smuggling method may include obtaining,
making, altering, or using what appear to be official birth records from a foreign country
to show a parent-minor child relationship between smuggled aliens or that a smuggled alien
is an unaccompanied minor in order to avoid further detention or criminal prosecution after
apprehension by immigration authorities such as Border Patrol Agents.

c. An undocumented alien or someone ‘closely associated with this
undocumented alien may make contact using their cellular phones or smart electronic
devices with an initial human smuggler while the undocumented alien is outside of the
United States. They will discuss over the phone or via a messaging application about the
logistics as to how to smuggle this undocumented alien into the United States (such as
using false documents) and the financial payments involved with the smuggling act. Using
the phone or a messaging application on the phone, this smuggler will work with other
associates to coordinate how to smuggle this undocumented alien along with the financial
payments. Using the phone itself or a messaging application on their phone, the smuggler
or associates will advise the undocumented alien or the close contact to the undocumented
alien about the next steps including the meet-up point. Using the phone or messaging
application, they may discuss the method, manner and payment at that time or after

successfully smuggling the undocumented alien into the United States.
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Case 3:19-mj-05084-AGS Document1 Filed 11/14/19 PagelD.7 Page 7 of 17

d, The undocumented aliens also will use their phones to make calls or
send text messages to discuss the smuggling arrangements with the smugglers themselves,
or a’go-between such as a family member or close friend prior to and during the smuggling
event. On making their illegal entry into the United States, the smuggled aliens may use
their phones to continue to communicate with the smugglers or the go-between such as a
family member or close friend to discuss the manner and method of the smuggling activity
including the payment.

e. Subscriber Identity Module (SIM) cards also known as subscriber
identity modules are smart cards that store data for certain cellular telephone

subscribers. Such data includes user identity, phone number, network authorization data,

personal security keys, contact lists, and stored text messages. Dependent on the cellular |

device, information on a SIM cards can be collected as evidence as to the operator use of
that particular cellular telephone. SIM cards may be transferrable between different
cellular/mobile telephones. Human smugglers and their co-conspirators sometimes will
replace the SIM (memory) cards in their cellular or mobile phones as a means to avoid
detection. :

| f Undocumented aliens are like anyone else who has friends and family.
They will use social media accounts such as Facebook to update family and friends to
discuss their whereabouts, daily activities or travels as they make their way to the United
States. They may use messaging applications such as Facebook Messenger to do the same
or the coordinate with the human smugglers. The undocumented aliens may share
photographs of themselves or where they are located. In order to register their accounts,
they will input a name, e-mail address and date of birth and decide how much information
to keep public or private from the general public. At the time of their apprehensions,
undocumented aliens who use false documents or make false claims about their identity or
family relationships to immigration authorities may still maintain their social media

accounts that contain their true name, dates of birth and other personal information about

 

 

 
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Case 3:19-mj-05084-AGS Document1 Filed 11/14/19 PagelD.8 Page 8 of 17

their home, work or social activities as well as photographs of themselves and their daily
activities.

11. Based upon my training and experience, consultations with law enforcement
officers experienced in human smuggling investigations, and all the facts and opinions set
forth in this affidavit, I know that cellular/mobile telephones and SIM cards may and often
do contain electronic records, phone logs and contacts, voice and text communications,
and data such as emails, text messages, chats and chat logs from various third-party
applications, photographs, audio files, videos, and location data. This information can be
stored within disks, memory cards, deleted data, remnant data, slack space, and temporary
or permanent files contained on or in the cellular/mobile telephones.

_ FACTS SUPPORTING PROBABLE CAUSE

12. During the week of September 10, 2019, approximately eight Haitians
representing themselves as father-minor son family units crossed into United States from
Mexico near the Tecate, California port of entry. On further investigation, HSI Special
Agents (SAs) determined these four sets of family units did not consist of father-minor son
relationships and that these individuals were representing themselves as family units in
order to avoid detention and be released into the United States. Some of these individuals
used false names in an attempt to represent themselves as minor children. Four of those
eight individuals were prosecuted and one of those individuals is designated as a material
witness. See United States v. Guillaume, 19MJ3964; United States v. Monfort and Luma,
193924; United States v. Estilus, 19MJ3931 and United States v. Joseph, 19MJ3930

(material witness complaint). HSI SAs is examining phones seized in those cases and

interviewing other Haitian individuals claiming to be a part of family units. According to:

the material witness Edner Joseph, two individuals named Adler Louis JOSAPHAT and
Wicknique SERAPHIN aka Rasta were behind this September 10, 2019 smuggling
venture.

13. On October 1, 2019, at approximately 11:00 p.m., Border Patrol Agents

apprehended a group of individuals without legal status who had just crossed into the U.S.
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Case 3:19-mj-05084-AGS Document1 Filed 11/14/19 PagelD.9 Page 9 of 17

The apprehension occurred in an area approximately 100 yards west of the Tecate,
California port of entry and approximately 15 yards north of the border between Mexico
and the United States, ~

14. In this group, there were two individuals who claimed to have a father-minor
son relationship: Henry Claude VINCENT as father to Thomas JULES (under the name
Carl Henry Vincent). Ali claimed to be citizens and nationals from Haiti. None of them
possessed the necessary documentation to enter or remain in the United States legally. On
apprehension, the members of the group were transferred to the Brown Field Border Patrol
Station in San Diego, CA for processing.

15. During initial processing of VINCENT and JULES (under the name Carl
Henry Vincent), Agents identified what purported to be a Haitian birth record for Carl.

Henry Vincent (i.e., JULES). The birth record showed VINCENT was the father to Carl

Henry Vincent, who had a date of birth of August 22, 2002,

16. JULES also told agents that he was Carl Henry Vincent and that VINCENT
was his father. Border Patrol Agents fingerprinted JULES to confirm his identity.
Biometrics revealed JULES’ true name as Thomas JULES and not a Carl Henry Vincent
as he represented himself. The biometrics information showed JULES had a year of birth

in 1989. Additionally, a biometrics report revealed Thomas-JULES was encountered and

fingerprinted through partner nation cooperation. The report reflected that JULES was

encountered and fingerprinted on April 28, 2019 in Panama. On May 29, 2019, JULES
was encountered and fingerprinted in the country of Costa Rica. The report reflected the
date of birth associated with JULES’ fingerprints would make JULES approximately 30-
years-old. | — a |

17. On October 2, 2019, Special Agents (SAs) Hinckley and Brown utilized Lion
Bridge translation service to interview Thomas JULES in the Haitian Creole language.
JULES was advised of his Miranda rights. He also was advised it was a federal crime to
lie to agents. JULES signed a Miranda waiver of rights form using the alias “Carl Henry

Vincent” and agreed to speak with agents. JULES stated his name was Carl Henry Vincent.
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Case 3:19-mj-05084-AGS Document1 Filed 11/14/19 PagelD.10 Page 10 of 17

JULES acknowledged that he had met up with VINCENT in Mexicali, Mexico. JULES
said that VINCENT was not his biological father. JULES said that his group had heard
from others who claimed to have been granted admission into the United States using
counterfeit birth certificates and that they had explained the process to subsequent travelers
doing the same thing. | |

18. JULES then admitted to his true name as Thomas JULES, and not Carl Henry
Vincent, and age (approximately 30-years-old), JULES also admitted that he received an

email containing the fraudulent birth certificate using the name Carl Henry Vincent and

stated it was the name of VINCENT’s son.

19. JULES was in possession of Target Device 2. JULES consented to a search
of Target Device 2. Agents began a searched via Cellebrite. However, some Cellebrite
functions were not supported and not downloaded. |

20. During initial processing by Border Patrol, Henry Claude VINCENT told.
agents he was traveling with his minor son, Carl Henry Vincent (i.e., JULES) and that his
son was 1'/-years-old. As a form of his own identification, VINCENT presented a passport
and birth certificate that appeared to be from Haiti. VINCENT was in possession of Target:
Device 1. | |

21. Given the -facts surrounding the apprehension of the two individuals listed

above, and based upon my experience and training, as well as consultation with other law

‘enforcement officers experienced in human smuggling investigations, I submit that there

is probable cause to believe that information relevant to the smuggling activities of

‘VINCENT and JULES, including the logistics of traveling from their country of origin

through Mexico into the United States, information about their respective true and false
identities, and the circumstances surrounding the producing and obtaining the false birth
records, will be found in the Target Devices. Such evidence could be in the form of
communications, records, data (including but not limited to emails, text messages, other
social messaging applications), photographs, audio files, videos, or location data.

22. I believe that the appropriate date range for the search of the Target Devices
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Case 3:19-mj-05084-AGS Document 1 Filed 11/14/19 PagelD.11 Page 11 of 17

is: from May 1, 2019 through October 2, 2019 for Target Phones 1 and 2 given JULES’

statements that he first met VINCENT sometime in May or June 2019 and they coordinated

the planning and production of the false birth record in the days leading up to their arrest.
| METHODOLOGY

23. It is not possible to determine, merely by knowing the cellular/mobile

telephone’s make, model and/or serial number, the nature and types of services to which

the device is subscribed and the nature of the data stored on the device. Cellular/mobile

devices today can be simple cellular telephones and text message devices, can include

cameras, can serve as personal digital assistants and have functions such as calendars and
full address books and can be mini-computers allowing for electronic mail services, web
services and rudimentary word processing. An increasing number of cellular/mobile
service providers now allow for their subscribers to access their device over the internet
and remotely destroy all of the data contained on the device. For that reason, the device
may only be powered in‘a secure environment or, if possible, started in “flight mode” which
disables access to the network. Unlike typical computers, many cellular/mobile telephones
do not have hard drives or hard drive equivalents and store information in volatile memory
within the device or in memory cards inserted into the device. Current technology provides
some solutions for acquiring some of the data stored in some cellular/mobile telephone

models using forensic hardware and software. Even if some of the stored information on

||the device may be acquired forensically, not all of the data subject to seizure may be so

acquired. For devices that are not subject to forensic data acquisition or that have

{| potentially relevant data stored that is not subject to such acquisition, the examiner must

inspect the device manually and record the process and the results using. digital
photography. This process is time and labor intensive and may take weeks or longer. ,

24. Following the issuance of this warrant, I will collect. the subject
cellular/mobile telephones and subj ect them to analysis. All forensic analysis of the data

contained within the telephones and their memory cards will employ search protocols

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Case 3:19-mj-05084-AGS Document1 Filed 11/14/19 PagelD.12 Page 12 of 17

directed exclusively to the identification and extraction of data within the scope of this
warrant.

25. ~ Based on the foregoing, identifying and extracting data subject to seizure
pursuant to this warrant may require a range of data analysis techniques, including manual
review, and, consequently, may take weeks or months. The personnel conducting the
identification and extraction of data will complete the analysis within ninety (90) days,
absent further application to this court. |

CONCLUSION

26. Based on all of the facts and circumstances described above, there is probable
cause to conclude that VINCENT and JULES used the Target Devices to facilitate
violations of 8 U.S.C. § 1324(a)(1)(A)(]i) and (v)(I) — Conspiracy to Bring Certain Aliens
Without Presentation; 18 U.S.C. § 371 — Conspiracy to Use False Documents; 18 U.S.C. §
1001(a)(2) — False Statements; 18 U.S.C. § 1001(a)(3) — False Documents; and 18 U.S.C.
§§ 1519 and 2 — Aiding and Abetting as to the Falsification of Records or Documents ina
Federal Investigation.

27. Because the Target Devices. were seized during the investigation of
VINCENT’s and JULES’ false representation activities and have been securely stored,

there is probable cause to believe that evidence of illegal activities committed by

‘VINCENT and JULES and others continues to exist on the Target Devices.

28. WHEREFORE, I request that the court issue a warrant authorizing law
enforcement agents and/or other federal and state law enforcement officers to search the
items described in Attachments A-1 through A-2, and seize the items listed in Attachment
B, using the methodology described above. | |

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Case 3:19-mj-05084-AGS Document1 Filed 11/14/19 PagelD.13 Page 13 of 17

I swear the foregoing is true and correct to the best of my knowledge and belief.

-. Respectfully submitted,

DIKE MLA

Special Agent Mike Brown
Homeland Security Investigations

o before me on November , , 2019

  

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THE HONORABIE ANDREW G. SCHOPLER
UNITED STATES MAGISTRATE JUDGE

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Case 3:19-mj-05084-AGS Document1 Filed 11/14/19 PagelD.14 Page 14 of 17

ATTACHMENT A-2
PROPERTY TO BE SEARCHED
Target Device 2
HTC One A9s Phone

IMET: 351515080300173
S/N: FA71BBY00074

Currently in the possession of the United States Department of Homeland Security,
Homeland Security Investigations at 2255 Niels Bohr Court, San Diego, CA 92154.

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Case 3:19-mj-05084-AGS Document1 Filed 11/14/19 PagelD.15 Page 15 of 17

ATTACHMENT B

ITEMS TO BE SEIZED

Authorization to search the Target Devices 1 through 2 — collectively, the Target |-

Devices - includes the search of disks, memory cards, deleted data, remnant data, slack

space, and temporary or permanent files contained on or in the Target Devices for evidence

described below. The seizure and search of the Target Devices, will be conducted in

accordance with the affidavit submitted in support of the warrant.

The evidence to be seized from the Target Devices will be electronic records,
communications, and data such as emails, text messages, photographs, audio files, videos,
and location data for the period from: May 1, 2019 through October 3, 2019 for Target
Devices: .

a. tending to identify the travel from the country of origin through Mexico into

the United States and then to the final destination within the United States:

. and the smuggling method including the obtaining, making, altering, or using

what appear to be official birth records from a foreign country. to show a

parent-minor child relationship in order to avoid detention or criminal
prosecution in the United States; _ | | | a

b.-. tending’to identify accounts, facilities, storage devices, and/or services—such

as email addresses, IP addresses, and phone numbers—used to facilitate the

travel from the country of origin through Mexico into the United States and |
then to the final destination within the United. States; and, the smuggling |

' method including the obtaining, making, altering, or using what appear to be
official birth records from a foreign country to show a parent-minor child
relationship i in order to avoid detention or criminal prosecution in the United

States;

c.. tending to identify co-conspirators, criminal associates, or others involved in |

the travel from the country of origin through Mexico into the United States j

and then to the final destination within the United States; and the smuggling
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Case 3:19-mj-05084-AGS Document 1 Filed 11/14/19 PagelD.16 Page 16 of 17

method including the obtaining, making, altering, or using what appear to be
official birth records from a foreign country to show a parent~minor child
* relationship in order to avoid detention or criminal prosecution in the United
States; |
d. tending to identify travel to or presence at locations such as stash houses, ports
of call, launch bays, or delivery points involved in the travel from the country
of origin through Mexico into the United States and then to the final
~ destination within the United States; and the smuggling method including the
obtaining, making, altering, or using what appear to be official birth records
from a foreign country to show a parent-minor child relationship in order to
avoid detention or criminal prosecution in the United States;
e. tending to identify the user of, or persons with contro! over or access to, the
subject telephones; and/or | |
f. tending to place in context, identify the creator or recipient of, or establish the
time of creation or receipt of communications, records, or data involved in the
activities described above; and
g. - tending to identify method, and manner of payment for travel from the country
of origin through Mexico into the United States and then to the final
destination within the United States; and the smuggling method including the

obtaining, making, altering, or using what appear to be official birth records |

from a foreign country to show a parent-minor child relationship in order to

avoid detention or criminal prosecution in the United States;

h. tending to provide the true names, aliases used, dates of birth, home, school, |

and work addresses, and familial relationships for Henry Claude VINCENT |

and Thomas JULES; | .
i. tending to support or contradict the statements provided by Henry Claude

VINCENT and Thomas JULES to Border Patrol Agents and Special Agents |

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0 OTD A HW BW NH

oa AA BOY SF SB CO eM AN DA BR DP BF CS

 

 

Case 3:19-mj-05084-AGS Document 1 Filed 11/14/19 PagelD.17 Page 17 of 17

with Homeland Security Investigations between October 01-and October 03,
- 2019,

of 8 U.S.C. § 1324(a)(1)(A)G) and (v)(D) — Conspiracy to Bring Certain Aliens Without
Presentation; 18: U.S.C. § 371 — Conspiracy to Use False Documents; 18 U.S.C. §
1001(a)(2) — False Statements; 18 U.S.C. § 1001(a)3) — False Documents; and 18 U.S.C.
§§ 1519 and 2 — Aiding and Abetting as to the Falsification of Records or Documents in a

Federal Investigation.

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which aré evidence of crimes and property used in the commission of crimes of violations |

 

 

 
